Case 1:22-cv-00050-GNS Document 1-1 Filed 04/29/22 Page 1 of 34 PageID #: 5




         EXHIBIT 1
             Case 1:22-cv-00050-GNS Document 1-1 Filed 04/29/22 Page 2 of 34 PageID #: 6
 AOC-E-105         Sum Code: CI
 Rev. 9-14                                                                              Case #:   22-CI-00073
 Commonwealth of Kentucky
                                                                                        Court:    CIRCUIT
 Court of Justice Courts.ky.gov                                                         County:   BARREN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, HAYES, SALLY VS. ZACKIYA DEVELOPMENT LLC ET AL, Defendant


   TO: CORPORATION SERVICE COMPANY
           421 WEST MAIN STREET
           FRANKFORT, KY 40601
Memo: Related party is MAC'S CONVENIENCE STORES, LLC

The Commonwealth of Kentucky to Defendant:
MAC'S CONVENIENCE STORES, LLC

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the




                                                                                                                                   Presiding Judge: HON. JOHN T. ALEXANDER (643358)
document delivered to you with this Summons.




                                                         Barren Circuit Clerk
                                                         Date: 2/14/2022




                                                 Proof of Service
   This Summons was:

 Served by delivering a true copy and the Complaint (or other initiating document)
     To:

 Not Served because:

   Date:                          , 20
                                                                                             Served By


                                                                                                  Title

Summons ID: @00000173424
CIRCUIT: 22-CI-00073 Certified Mail
HAYES, SALLY VS. ZACKIYA DEVELOPMENT LLC ET AL

                                                      Page 1 of 1
             Case 1:22-cv-00050-GNS Document 1-1 Filed 04/29/22 Page 3 of 34 PageID #: 7
 AOC-E-105         Sum Code: CI
 Rev. 9-14                                                                              Case #:   22-CI-00073
 Commonwealth of Kentucky
                                                                                        Court:    CIRCUIT
 Court of Justice Courts.ky.gov                                                         County:   BARREN
 CR 4.02; Cr Official Form 1                     CIVIL SUMMONS


Plantiff, HAYES, SALLY VS. ZACKIYA DEVELOPMENT LLC ET AL, Defendant


   TO: MAFAZ ANSAR
           P O BOX 2492
           ELIZABETHTOWN, KY 42701
Memo: Related party is ZACKIYA DEVELOPMENT LLC

The Commonwealth of Kentucky to Defendant:
ZACKIYA DEVELOPMENT LLC

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the




                                                                                                                                   Presiding Judge: HON. JOHN T. ALEXANDER (643358)
document delivered to you with this Summons.




                                                         Barren Circuit Clerk
                                                         Date: 2/14/2022




                                                 Proof of Service
   This Summons was:

 Served by delivering a true copy and the Complaint (or other initiating document)
     To:

 Not Served because:

   Date:                          , 20
                                                                                             Served By


                                                                                                  Title

Summons ID: @00000173423
CIRCUIT: 22-CI-00073 Certified Mail
HAYES, SALLY VS. ZACKIYA DEVELOPMENT LLC ET AL

                                                      Page 1 of 1
 Case 1:22-cv-00050-GNS Document 1-1 Filed 04/29/22 Page 4 of 34 PageID #: 8




                            COMMONWEALTH OF KENTUCKY
                                BARREN CIRCUIT COURT
                           CIVIL ACTION NO. 22-CI-___________

SALLY HAYES
212 MILL ST
GLASGOW KY 42141                                                            PLAINTIFF

VS.

ZACKIYA DEVELOPMENT LLC
D/B/A CIRCLE K
200 COLUMBIA AVENUE
GLASGOW KY 42141
     SERVE: Mafaz Ansar
            P O Box 2492
            Elizabethtown Kentucky 42701

-AND-

MAC’S CONVENIENCE STORES, LLC




                                                                                                 Presiding Judge: HON. JOHN T. ALEXANDER (643358)
D/B/A CIRCLE K
4808 W. JONATHON MOORE PIKE
P O BOX 347
COLUMBUS IN 47202
             SERVE: Corporation Service Company
                    421 West Main Street
                    Frankfort Kentucky 40601                                DEFENDANTS

                                          COMPLAINT

        Comes the Plaintiff, by and through counsel, and for her cause of action, states as

follows:
                                                 I

        Plaintiff Sally Hayes is a resident of Barren County, Kentucky and resides at 212 Mill

Street, Glasgow, Kentucky 42141.

                                                 II
                                                                                                 COM : 000001 of 000004




        The Defendant Zackiya Development, LLC,           is believed to be a Kentucky Limited

Liability Company organized and existing under the laws of the Commonwealth of Kentucky

and/or doing business as Circle K. The Secretary of State has listed the registered agent for


                                                 1
 Case 1:22-cv-00050-GNS Document 1-1 Filed 04/29/22 Page 5 of 34 PageID #: 9




service of process of Zackiya Development, LLC as Mafaz Ansar, P O Box 2492, Elizabethtown,

Kentucky 42701.

                                                 III

       Defendant Zackiya Development, LLC., d/b/a Circle K is believed to lease, own, manage,

control and/or otherwise be responsible for the safety of persons on the premises whereupon

Plaintiff herein was injured as hereinafter stated.

                                                 IV

       The Defendant Mac’s Convenience Stores, LLC, is believed to be a Limited Liability

Company organized and existing under the laws of the Commonwealth of Kentucky and/or

doing business as Circle K. The Secretary of State has listed the registered agent for service of

process as Corporation Services Company, 421 West Main Street, Frankfort, Kentucky 40601.




                                                                                                    Presiding Judge: HON. JOHN T. ALEXANDER (643358)
                                                  V

       Defendant Mac’s Convenience Stores, LLC, d/b/a Circle K is believed to also lease, own,

manage, control and/or otherwise be responsible for the safety of persons on the premises

whereupon Plaintiff herein was injured as hereinafter stated.

                                                 VI

       That on or about February 19, 2021, Plaintiff was injured on the premises and property of

Defendants located at 200 Columbia Avenue, Glasgow, Barren County, Kentucky which was

owned and/or operated and/or managed and/or controlled by the Defendants. Plaintiff was

injured as a result of Defendants failing to keep the sidewalk and/or parking lot free of

obstruction and/or unsafe conditions. Defendants’ negligence, imputed, vicarious or actual, sole
                                                                                                    COM : 000002 of 000004




or joint, was the direct and proximate cause of the accident and injuries which proximately

resulted in the damages hereinafter mentioned. Further, Defendants owed Plaintiff a duty to




                                                  2
Case 1:22-cv-00050-GNS Document 1-1 Filed 04/29/22 Page 6 of 34 PageID #: 10




prevent and/or warn of this defective and dangerous condition and/or correct same and

Defendants breached each and all such duty or duties.

                                                 VII

       The carelessness and negligence of Defendants was one hundred percent (100%) the

cause of the accident and resulting injuries to Plaintiff.

                                                 VIII

       As a proximate result of the negligence of Defendants, Plaintiff has been forced to

expend more than $1,000.00 in medical treatment and will continue to incur same; has suffered

pain and mental anguish and inconvenience since her injuries and will continue to suffer same in

the future; has suffered a diminution in the quality of life and the enjoyment of same; has

suffered replacement loss and has suffered permanent injury, all of which are in excess of the




                                                                                                    Presiding Judge: HON. JOHN T. ALEXANDER (643358)
minimal amount necessary to establish the jurisdiction of this Court.

                                                  IX

       Defendants individually and/or jointly, and/or their insurers also have medical payments

coverage available to Plaintiff and Plaintiff demands same as a third-party beneficiary of said

contracts.

       WHEREFORE, Plaintiff prays the court as follows:

       1. For judgment against the Defendants in an amount which is in excess of the minimal

amount necessary to establish the jurisdiction of this Court and sufficient to compensate her for

all her losses complained of herein;

       2. For a trial by jury;
                                                                                                    COM : 000003 of 000004




                                                   3
 Case 1:22-cv-00050-GNS Document 1-1 Filed 04/29/22 Page 7 of 34 PageID #: 11




          3. For her attorney’s fees and costs expended herein; and

          4. For all other proper relief to which she may be entitled.




                                                    /s/ Ronald L. Hampton
                                                    RONALD L. HAMPTON
                                                    GILLENWATER & HAMPTON LAW FIRM
                                                    Third National Bank Bldg.
                                                    103 E. Main Street
                                                    Glasgow, KY 42141
                                                    (270) 651-8874

Hope/files/comp/s&f/sallyhayescomplaintagainstCircleK




                                                                                     Presiding Judge: HON. JOHN T. ALEXANDER (643358)




                                                          4
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                             COMMONWEALTH OF KENTUCKY




                                                                                                      97E7E14F-59DA-442E-8B37-4B14AF5371BF : 000001 of 000005
                                BARREN CIRCUIT COURT
                              CIVIL ACTION NO.: 22-CI-00073

                                  ELECTRONICALLY FILED

SALLY HAYES                                                                          PLAINTIFF

v.

ZACKIYA DEVELOPMENT, LLC
D/B/A CIRCLE K

-AND-

MAC’S CONVENIENCE STORES, LLC
D/B/A CIRCLE K                                                                   DEFENDANTS



                DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT



        Defendant, Mac’s Convenience Stores, LLC d/b/a Circle K, for its Answer to Plaintiff’s

Complaint, hereby states:

                                       FIRST DEFENSE

        Plaintiff’s Complaint fails, in whole or in part, to state a claim upon which relief can be

granted against Defendant.

                                      SECOND DEFENSE

        As to the numbered paragraphs in Plaintiff’s Complaint:

        1.     Defendant denies for want of knowledge the averments in Paragraph 1 of Plaintiff’s

Complaint.
                                                                                                      ANS : 000001 of 000005




                                                 1
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       2-3.    The averments in Paragraphs 2 and 3 of Plaintiff’s Complaint are not directed at




                                                                                                       97E7E14F-59DA-442E-8B37-4B14AF5371BF : 000002 of 000005
answering Defendant and should be taken as avoided or denied as a matter of form or Defendant

denies as stated the averments in Paragraphs 2 and 3 of Plaintiff’s Complaint.

       4-5.    Defendant admits that it is a limited liability company and that it has listed a

registered agent for service of process as Corporation Services Company, 421 West Main Street,

Frankfort, Kentucky 40601, but denies as stated or avoids as a matter of form the legal statements

or conclusions within the remaining averments in Paragraphs 4 and 5 of Plaintiff’s Complaint.

       6-9.    Defendant denies the averments in Paragraphs 6, 7, 8, and 9 of Plaintiff’s

Complaint.

                                       THIRD DEFENSE

       Subject to what discovery may reveal, the damages alleged in Plaintiff’s Complaint were

caused, in whole or in part, by Plaintiff’s contributory or comparative negligence by reason of her

failure to use that degree of care which would have been used by an ordinary, reasonable, and

prudent person under the same or similar circumstances. Any damages to which Plaintiff may be

found entitled are barred and should be reduced in proportion to the amount of fault attributable to

Plaintiff. The negligence of Plaintiff proximately caused, contributed to, and was a substantial

factor in causing the damages, if any, alleged in Plaintiff’s Complaint.

                                      FOURTH DEFENSE

       Defendant’s conduct was not the proximate cause or substantial factor in causing any

damage alleged by Plaintiff.                                                                           ANS : 000002 of 000005




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                                          FIFTH DEFENSE




                                                                                                        97E7E14F-59DA-442E-8B37-4B14AF5371BF : 000003 of 000005
          Plaintiff has failed to plead special damages, if any, with specificity as required by Rule

9.06 of the Kentucky Rules of Civil Procedure and any claims for special damages are therefore

barred.

                                          SIXTH DEFENSE

          Defendant reserves all defenses related to insufficiency of process or service of process.

                                       SEVENTH DEFENSE

          To the extent there exists any person or entity who has paid any amounts to or for the

benefit of Plaintiff on account of events or damages alleged in Plaintiff’s Complaint or who have

not been properly notified of their subrogation rights, Plaintiff has failed to comply with K.R.S.

411.188, and the claims are therefore barred.

                                        EIGHTH DEFENSE

          The damages alleged in the Complaint were caused by the acts, omissions, or act of primary

negligence or intentional conduct or intervening or superseding negligence or intentional conduct

of persons or entities other than Defendant for which Defendant has no responsibility, and such

negligence or conduct precludes any liability against Defendant.

                                         NINTH DEFENSE

          Pending discovery, Plaintiff’s alleged damages, if any, were pre-existing or the failure of

the result to mitigate.

                                         TENTH DEFENSE

          Any condition on the subject premises which allegedly caused or contributed to the
                                                                                                        ANS : 000003 of 000005




Plaintiff’s accident was open and obvious which bars the claims asserted herein, either in whole

or in part.



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                                     ELEVENTH DEFENSE




                                                                                                        97E7E14F-59DA-442E-8B37-4B14AF5371BF : 000004 of 000005
       The premises were reasonably maintained, which bars Plaintiff’s claims asserted herein,

either in whole or in part.

                                      TWELTH DEFENSE

       Pending discovery, Defendant affirmatively pleads all other defenses and affirmative

defenses available to them under the common law, civil rules, regulations and statutes of Kentucky

and the United States of America. Defendant reserves the right to file further pleadings and assert

other defenses in this action as proof develops including, but not limited to, cross-claims, counter-

claims or third-party claims.

       WHEREFORE, the Defendant respectfully demands:

       1.      Dismissal of Plaintiff’s Complaint against them, in its entirety, with prejudice;

       2.      Recovery of their costs and attorneys’ fees incurred in the defense of this action, if

applicable;

       3.      A trial by jury on all issues so triable; and

       4.      Any and all other relief to which they may appear entitled.



                                                       Respectfully submitted,

                                                       /s/ Pete Pullen
                                                       A. Pete Pullen
                                                       O’BRYAN, BROWN & TONER, PLLC
                                                       401 South Fourth Street, Suite 2200
                                                       Louisville, Kentucky 40202
                                                       Phone – (502) 585-4700
                                                       pullenp@obtlaw.com
                                                                                                        ANS : 000004 of 000005




                                                       Counsel for Defendant




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                              CERTIFICATE OF SERVICE




                                                                                                 97E7E14F-59DA-442E-8B37-4B14AF5371BF : 000005 of 000005
        I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of Barren
Circuit Court using the ECF system and that a true and correct copy of the foregoing document
was served upon the following parties or counsel via the ECF system as well as by email and/or
U.S. Mail on this 8th day of March, 2022 upon:


Ronald L. Hampton
GILLENWATER & HAMPTON LAW FIRM
Third National Bank Building
103 East Main Street
Glasgow, KY 42141
ghlf@scrtc.com
Counsel for Plaintiff



                                                  /s/ Pete Pullen
                                                  A. Pete Pullen
                                                  Counsel for Defendant




                                                                                                 ANS : 000005 of 000005




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                            COMMONWEALTH OF KENTUCKY




                                                                                                     15C84C3B-06EC-47ED-AB16-39EE282F85F3 : 000001 of 000002
                               BARREN CIRCUIT COURT
                             CIVIL ACTION NO.: 22-CI-00073

                                 ELECTRONICALLY FILED

SALLY HAYES                                                                          PLAINTIFF

v.

ZACKIYA DEVELOPMENT, LLC
D/B/A CIRCLE K

-AND-

MAC’S CONVENIENCE STORES, LLC
D/B/A CIRCLE K                                                                   DEFENDANTS


                                    NOTICE OF SERVICE



        Please take notice that Defendant, Mac’s Convenience Stores, LLC d/b/a Circle K, by and

through undersigned counsel, has served Defend
                                             a nt’s Interro
                                                          gat   ro ies nad Req
                                                                             ue sts for Produc tio
                                                                                                 n

of Documents to Plaintiff and Defendant’s Request for Admission to Plaintiff, on this 8th day of

March, 2022.



                                                    Respectfully submitted,

                                                    /s/ Pete Pullen
                                                    A. Pete Pullen
                                                    O’BRYAN, BROWN & TONER, PLLC
                                                    401 South Fourth Street, Suite 2200
                                                    Louisville, Kentucky 40202
                                                    Phone – (502) 585-4700
                                                                                                     : 000001 of 000002




                                                    pullenp@obtlaw.com
                                                    Counsel for Defendant
                                                                                                     SON




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                              CERTIFICATE OF SERVICE




                                                                                                 15C84C3B-06EC-47ED-AB16-39EE282F85F3 : 000002 of 000002
        I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of Barren
Circuit Court using the ECF system and that a true and correct copy of the foregoing document
was served upon the following parties or counsel via the ECF system as well as by email and/or
U.S. Mail on this 8th day of March, 2022 upon:


Ronald L. Hampton
GILLENWATER & HAMPTON LAW FIRM
Third National Bank Building
103 East Main Street
Glasgow, KY 42141
ghlf@scrtc.com
Counsel for Plaintiff



                                                  /s/ Pete Pullen
                                                  A. Pete Pullen
                                                  Counsel for Defendant




                                                                                                 : 000002 of 000002
                                                                                                 SON




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                             COMMONWEALTH OF KENTUCKY
                                BARREN CIRCUIT COURT
                              CIVIL ACTION NO.: 22-CI-00073

SALLY HAYES                                                                          PLAINTIFF

v.

ZACKIYA DEVELOPMENT, LLC
D/B/A CIRCLE K

-AND-

MAC’S CONVENIENCE STORES, LLC
D/B/A CIRCLE K                                                                   DEFENDANTS



     DEFENDANT’S INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
                       DOCUMENTS TO PLAINTIFF



        Defendant, Mac’s Convenience Stores, LLC, d/b/a Circle K Stores, Inc. (“Circle K”),

hereby propounds the following Interrogatories and Requests for Production of Documents to the

Plaintiff to be answered in writing and under oath within thirty (30) days from the date of service

hereof. These Interrogatories and Requests are to be considered continuing.

                                     INTERROGATORIES

        INTERROGATORY NO. 1:                 Please provide your full name, address, Social

Security number and date of birth.

        ANSWER:



        INTERROGATORY NO. 2:                 State all facts upon which you rely to support the

allegations in your Complaint that personal injuries you allegedly suffered at Circle K on or about

February 19, 2021 were caused by the negligent acts and omissions of Circle K.


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         ANSWER:



         INTERROGATORY NO. 3:                  Please state in specific detail the manner in which

Plaintiff claims that the alleged negligence of Circle K was a factor in causing damage to Plaintiff.

         ANSWER:



         INTERROGATORY NO. 4:                  Please give the name, address, telephone number and

place of employment of any persons who have any knowledge regarding the facts or opinions

given in answer to Interrogatory Nos. 2 and 3 above and identify all documents that evidence said

facts.

         ANSWER:



         INTERROGATORY NO. 5:                  Give the name, address, telephone number and place

of employment of each person who witnessed your alleged accident.

         ANSWER:



         INTERROGATORY NO. 6:                  Please state the name, address, telephone number and

place of employment of all persons known to you or reasonably thought by you, your attorney,

agents or other representatives to have knowledge of facts material or relevant to the issues

pertaining to liability or damages in this lawsuit.

         ANSWER:




                                                  2
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        INTERROGATORY NO. 7:                    Please give the name, address, telephone number and

place of employment of each person you will call to testify at the trial of this matter.

        ANSWER:



        INTERROGATORY NO. 8:                    Give the name, address and telephone number of

each expert witness, including medical experts, with whom you have conferred or intend to use at

trial, and with regard to each expert who is expected to be called to testify at the trial of this matter,

please state:

        (a)     The subject matter on which the expert is expected to testify;

        (b)     The substance of the facts and opinions as to which the expert witness is expected
                to testify;

        (c)     Give a summary of the grounds for each such opinion; and

        (d)     Please attach to your answers to interrogatories a copy of each expert's curriculum
                vitae.

        ANSWER:




        INTERROGATORY NO. 9:                    Give a detailed account of your movements and

activities on the day of the alleged accident, including prior to the alleged accident and thereafter.

        ANSWER:



        INTERROGATORY NO. 10:                   Relate the substance of any statement or utterance

made to you or in your presence concerning the occurrence of the accident and identify fully the

person making the statement.


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       ANSWER:



       INTERROGATORY NO. 11:                  With regard to any hospitalization or emergency

room visit by you prior to this accident, other than for treatment of the injuries received in the

accident which is the subject matter of this lawsuit, give the following information:

       (a)     The name and address of the hospital;

       (b)     The dates of admission and discharge;

       (c)     The name of the attending physician; and

       (d)     Describe the condition which caused such hospitalization.

       ANSWER:



       INTERROGATORY NO. 12:                  Please list the name, address and telephone number

of each and every physician or medical provider who has examined or treated you during the last

ten (10) years and provide a description of the condition which led to the examination or treatment.

       ANSWER:



       INTERROGATORY NO. 13:                  Itemize in detail all special damages you claim to

have incurred as a result of this accident.

       ANSWER:



       INTERROGATORY NO. 14:                  Please itemize in detail each amount claimed by you

for each item of unliquidated damages. If you are making a claim for loss of income or impairment

or destruction of earning capacity, please state:

                                                    4
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       (a)     The names and addresses of each place of employment for the last ten (10) years,
               the compensation rate for such employment, and the dates of such employment;

       (b)     The specific dates in which you missed work which you are claiming was a result
               of this accident; and

       (c)     The method of computation of lost income and/or impairment or destruction of
               earning capacity.

       ANSWER:



       INTERROGATORY NO. 15:                   Itemize and identify     all benefits, payments,

reimbursements or collateral source payments of any kind received by you or paid on your behalf

for special damages you claims to have incurred as a result of this accident.

       ANSWER:



       INTERROGATORY NO. 16:                   Describe in detail all other claims you have ever

made for personal injury including, but not limited to, any worker’s compensation claims, claims

to an insurance company or lawsuits either prior to or subsequent to this accident.

        ANSWER:



       INTERROGATORY NO. 17:                   Please identify each trial exhibit which you

anticipate introducing into evidence at the trial of this matter.

       ANSWER:




                                                   5
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        INTERROGATORY NO. 18:                  Please state whether you consumed prescription

medication, non-prescription medication and/or alcoholic beverages within 24 hours of your

alleged accident and specify the type and amount of any drugs and/or alcohol consumed.

        ANSWER:



        INTERROGATORY NO. 19:                  Please describe the injuries you claim to have

suffered as a result of this accident and their current condition(s).

        ANSWER:



        INTERROGATORY NO. 20:                  State whether you at any time applied for any type of

disability benefit from a private or government source, whether such benefit was granted, and as

to each state the name and address of the entity with which application was made and when it was

made.

        ANSWER:



        INTERROGATORY NO. 21:                  Please state whether you have ever been charged

with or convicted of any crime.

        ANSWER:



        INTERROGATORY NO. 22:                  Please describe in specific detail how Plaintiff’s

alleged injuries occurred.

        ANSWER:



                                                  6
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       INTERROGATORY NO. 23:                   Please describe all of your previous visits to the store

in question, including the date of said visits and reason for those visits.

       ANSWER:



       INTERROGATORY NO. 24:                   Please identify any code, regulation or statute you

claim Circle K violated in connection with your alleged accident and state how and when said

violation occurred.

       ANSWER:




       INTERROGATORY NO. 25:                   Please identify all email accounts, social media or

social networking accounts that you have (including, but not limited to, any and all Facebook

accounts, Twitter accounts, TikTok accounts, Instagram accounts, and LinkedIn accounts) and

identify any emails, posts, tweets, messages, updates, photos, videos or any other type of notation

to any such accounts that relate in any way to your alleged accident and/or injuries at Circle K.

       ANSWER:




                                                  7
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                    REQUESTS FOR PRODUCTION OF DOCUMENTS



       REQUEST NO. 1:         Please execute and return Plaintiff's authorizations for the release of

medical and employment records (forms attached).

       RESPONSE:



       REQUEST NO. 2:         Please provide copies of all documents which you will use to

support the allegations in the Complaint including but not limited to those referred to in

Interrogatory Nos. 2 and 3 above.

       RESPONSE:



       REQUEST NO. 3:         With regard to Interrogatory No. 8, please provide copies of any and

all written material prepared by Plaintiff’s experts relating to any matter at issue and any

documents which you anticipate calling to the attention of any expert testifying in this case.

       RESPONSE:



       REQUEST NO. 4:         With regard to Interrogatory No. 13, please provide copies of all

bills, cancelled checks, or other documentary evidence supporting any claim for special damages.

       RESPONSE:



       REQUEST NO. 5:         With regard to Interrogatory No. 14, please provide copies of all W-

2s, pay stubs, statements or other documentary evidence supporting any claim for loss of income

or impairment or destruction of earning capacity.



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       RESPONSE:



       REQUEST NO. 6:          With regard to Interrogatory No. 15, please provide copies of all

receipts, bills, cancelled checks, correspondence, or other documentary evidence substantiating

the payment of benefits or reimbursements of any kind received by you or paid on your behalf.

       RESPONSE:



       REQUEST NO. 7:          Please provide copies of any written or recorded statements in the

possession of Plaintiff or Plaintiff’s counsel obtained in connection with this accident.

       RESPONSE:



       REQUEST NO. 8:          Please provide copies of any photographs and/or videotapes in the

possession of Plaintiff or Plaintiff’s counsel taken in connection with this accident.

       RESPONSE:



       REQUEST NO. 9:          Please provide copies of any diagrams or drawings in the possession

of Plaintiff or Plaintiff’s counsel made in connection with this accident.

       RESPONSE:



       REQUEST NO. 10: With regard to Interrogatory No. 17, please provide copies of all trial

exhibits you anticipate introducing into evidence at the trial of this matter.

       RESPONSE:




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        REQUEST NO. 11: Please provide copies of your state and federal income tax returns

for the last five (5) years.

        RESPONSE:



        REQUEST NO. 12: Please provide copies of all documents which you used or will use

to support your answer(s) to any of the Interrogatories above.

        RESPONSE:




        REQUEST NO. 13: Please produce a copy of all accounts and any posts, tweets,

messages, updates, photos, videos or any other type of notation to any such accounts identified in

Interrogatory No. 25.

        RESPONSE:




                                                     Respectfully submitted,

                                                     /s/ Pete Pullen
                                                     A. Pete Pullen
                                                     O’BRYAN, BROWN & TONER, PLLC
                                                     401 South Fourth Street, Suite 2200
                                                     Louisville, Kentucky 40202
                                                     Phone – (502) 585-4700
                                                     pullenp@obtlaw.com
                                                     Counsel for Defendant




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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of Barren
Circuit Court using the ECF system and that a true and correct copy of the foregoing document
was served upon the following parties or counsel via the ECF system as well as by email and/or
U.S. Mail on this 8th day of March, 2022 upon:

Ronald L. Hampton
GILLENWATER & HAMPTON LAW FIRM
Third National Bank Building
103 East Main Street
Glasgow, KY 42141
ghlf@scrtc.com
Counsel for Plaintiff



                                                  /s/ Pete Pullen
                                                  A. Pete Pullen
                                                  Counsel for Defendant




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       AUTHORIZATION TO RELEASE PROTECTED HEALTH CARE INFORMATION

TO:




         Pursuant to the Health Information Portability and Accountability Act (HIPAA) Privacy
Regulations, 45 CFR ' 164.508, the above-listed provider is hereby authorized to release to O=BRYAN,
BROWN & TONER or any of its representatives all medical records, including but not limited to: office
notes, history, physical, consultation notes, discharge summaries, order and progress notes, laboratory
results, nurses notes, emergency room records, operative records, in-patient records, out-patient records and
films of x-rays, MRIs or PET scans, mental health, psychiatric (other than psychotherapy notes which must
be requested by separate authorization), chemical dependency and HIV-related records, medical bills and
health insurance Medicaid or Medicare records concerning any medical treatment that SALLY HAYES,
Social Security No. ____________________, has received from you, at your institution, as well as all such
records which you keep in the regular course of business are found in SALLY HAYES’ medical records
file. A photostatic copy hereof shall be as valid as the original.

        There will be no ex-parte communications by the law firm of O=Bryan, Brown & Toner with
any of the physicians involved in the care and treatment of SALLY HAYES.

        The purpose of this authorization and request is to permit O=BRYAN, BROWN & TONER and its
representatives to obtain ALL medical information pertaining to SALLY HAYES’ physical and mental
condition. This authorization expires three (3) years from the date of the signature. The
aforementioned expiration date has not passed, as this matter is ongoing.

        I hereby authorize the above-listed provider or any of its representatives to give testimony at
deposition or trial regarding my medical condition or treatment as may be requested.

        SALLY HAYES has the right to revoke this authorization in writing by providing a signed,
written notice of revocation to the above-listed provider and O=BRYAN, BROWN & TONER. The
revocation will take effect when the medical provider receives it, except to the extent that medical provider
or others have already relied on it; or if the authorization was obtained as a condition of obtaining insurance
coverage, other law provides the insurer with the right to contest a claim under the policy. Medical
providers may not condition treatment or payment on whether the above-listed patient executes this
authorization. The information disclosed pursuant to this authorization may be subject to re-disclosure and
no longer protected by the privacy regulations promulgated pursuant to the Health Information Portability
and Accountability Act (HIPAA).

                                                   __________________________________________
                                                   SALLY HAYES

                                                   Social Security No.: _________________________

                                                   Date of Birth: ______________________________

                                                   Date of Signature: __________________________



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                        AUTHORIZATION FOR EMPLOYMENT,
                         WAGE AND SALARY INFORMATION




TO WHOM IT MAY CONCERN:


       This authorizes any public or private school, firm, corporation, company, public agency or

other employer to furnish to O’Bryan, Brown & Toner, PLLC or to any representative or other

agent of said O’Bryan, Brown & Toner, PLLC, any and all information or opinions which they

may request regarding employment records, personnel files, present or past employment, payroll

records, and any other information that may be kept by said firm, corporation, company, agency,

or others by virtue of my employment or association with them.

       A photocopy of this authorization shall have the same force and effect as the original.


                                             ________________________________
                                             SALLY HAYES

                                             ________________________________
                                             Social Security Number

                                             ________________________________
                                             Date of Birth

                                             ________________________________
                                             Date of Signature




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                             COMMONWEALTH OF KENTUCKY
                                BARREN CIRCUIT COURT
                              CIVIL ACTION NO.: 22-CI-00073

SALLY HAYES                                                                          PLAINTIFF

v.

ZACKIYA DEVELOPMENT, LLC
D/B/A CIRCLE K

-AND-

MAC’S CONVENIENCE STORES, LLC
D/B/A CIRCLE K                                                                     DEFENDANTS


              DEFENDANT’S REQUEST FOR ADMISSION TO PLAINTIFF



        Defendant, Mac’s Convenience Stores, LLC d/b/a Circle K, pursuant to Kentucky Rule of

Civil Procedure 36, hereby propounds the following Request for Admission to Plaintiff to be

answered in writing within thirty (30) days from the date hereof.

        REQUEST NO. 1:        Please admit that the total amount of damages sought by Plaintiff in

this lawsuit exceeds or will exceed $75,000.00, exclusive of interest and costs.

        RESPONSE:

                                                     Respectfully submitted,

                                                     /s/ Pete Pullen
                                                     A. Pete Pullen
                                                     O’BRYAN, BROWN & TONER, PLLC
                                                     401 South Fourth Street, Suite 2200
                                                     Louisville, Kentucky 40202
                                                     Phone – (502) 585-4700
                                                     pullenp@obtlaw.com
                                                     Counsel for Defendant




                                                 1
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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of Barren
Circuit Court using the ECF system and that a true and correct copy of the foregoing document
was served upon the following parties or counsel via the ECF system as well as by email and/or
U.S. Mail on this 8th day of March, 2022 upon:


Ronald L. Hampton
GILLENWATER & HAMPTON LAW FIRM
Third National Bank Building
103 East Main Street
Glasgow, KY 42141
ghlf@scrtc.com
Counsel for Plaintiff



                                                  /s/ Pete Pullen
                                                  A. Pete Pullen
                                                  Counsel for Defendant




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                                                                                             582043E7-1229-480B-A8CA-612EF6588F0D : 000001 of 000002
 DATE PRODUCED: 3/14/2022 10:59 AM


 COMMONWEALTH OF KENTUCKY - FRANKLIN CO AOC INFO & TECH SERVICES:


 The following is information for Certified Mail™/RRE item number:
     9236 0901 9403 8366 3374 42


 Our records indicate that this item was RETURNED TO SENDER.


 ORIGINAL INTENDED RECIPIENT:
     ANSAR, MAFAZ
     P O BOX 2492
     ELIZABETHTOWN KY 42701




                                                                                             AOS : 000001 of 000002




The above information represents information provided by the United States Postal Service.



Return Reference Number:
        Case 1:22-cv-00050-GNS Document 1-1 Filed 04/29/22 Page 31 of 34 PageID #: 35




                                                                                                               582043E7-1229-480B-A8CA-612EF6588F0D : 000002 of 000002
    Date Produced: 03/14/2022

    ConnectSuite Inc.:

    The following is the delivery information for Certified Mail™/RRE/RD item number 9236 0901 9403 8366
    3374 42. Our records indicate that this item was delivered on 03/09/2022 at 11:35 a.m. in GLASGOW,
    KY 42141. The scanned image of the recipient information is provided below.

    Signature of Recipient :




    Address of Recipient :




    Thank you for selecting the Postal Service for your mailing needs. If you require additional assistance,
    please contact your local post office or Postal Service representative.

    Sincerely,
    United States Postal Service

    The customer reference number shown below is not validated or endorsed by the United States Postal
    Service. It is solely for customer use.




                                                                                                               AOS : 000002 of 000002




    Customer Reference Number:           C3229282.18786848



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                            COMMONWEALTH OF KENTUCKY




                                                                                                   65AC3493-7622-4B9E-8074-7072083AD13F : 000001 of 000002
                               BARREN CIRCUIT COURT
                             CIVIL ACTION NO.: 22-CI-00073

                                 ELECTRONICALLY FILED

SALLY HAYES                                                                        PLAINTIFF

v.

ZACKIYA DEVELOPMENT, LLC
D/B/A CIRCLE K

-AND-

MAC’S CONVENIENCE STORES, LLC
D/B/A CIRCLE K                                                                   DEFENDANTS



                        AGREED ORDER OF PARTIAL DISMISSAL



        By agreement of the parties and pursuant to CR 41.01, as represented by the signature

 of their respective counsel below, and the Court being otherwise duly and sufficiently advised,

 it is hereby ORDERED that the claims of Plaintiff, Sally Hayes, against Defendant Zackiya

 Development LLC (incorrectly referred to as d/b/a Circle K), are hereby DISMISSED without

 prejudice.

        Plaintiff’s claims against Defendant Mac’s Convenience Stores, LLC d/b/a Circle K

 remain.


 IT IS HEREBY ORDERED this the _           day of _            _         2022.
                                                                                                   OAGR : 000001 of 000002




                                        JUDGE



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AGREED TO BY:




                                                                                65AC3493-7622-4B9E-8074-7072083AD13F : 000002 of 000002
/s/ Pete Pullen
A. Pete Pullen
O’BRYAN, BROWN & TONER, PLLC
401 South Fourth Street, Suite 2200
Louisville, Kentucky 40202
Phone – (502) 585-4700
pullenp@obtlaw.com
Counsel for Defendants




/s/ Ronal dH am pt no ( withpe rmission) _
Ronald L. Hampton
GILLENWATER & HAMPTON LAW FIRM
Third National Bank Building
103 East Main Street
Glasgow, KY 42141
ghlf@scrtc.com
Counsel for Plaintiff



                                                 /s/ Pete Pullen
                                                 A. Pete Pullen
                                                 Counsel for Defendant




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